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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                :               21 Cr. 537 (JMC)

v.                                           :

JAMES TATE GRANT                             :

Defendant.                                   :


                     DEFENSE MOTION FOR PRE-TRIAL RELEASE

                                       INTRODUCTION

       Defendant James Tate was originally arrested on a criminal Complaint on October 14,

2021 and charged with several offenses committed during the events of January 6, 2021 at the

United States Capitol. He made his initial appearance before Magistrate Harvey (via

videoconference) on October 21, 2021, at which time the Government did not ask for his

detention and the defendant was released on personal recognizance. See DE 9. On December 7,

2021 the defendant was arrested in Wake County, North Carolina and charged with: (1) Driving

While Impaired and (2) and carrying a concealed weapon. The defendant also twice tested

positive for the use of amphetamines while on release. On January 18, 2022, Judge Kelly (who

was then presiding over this case) revoked the defendant’s pretrial release. See DE 86. For the

last approximately fifteen (15) months the defendant has remained in custody; he is currently

incarcerated at the Lewisburg Federal Correctional Institute in Pennsylvania, approximately four

hours outside of the Washington, D.C. metropolitan area.

       For all of the reasons set forth herein, the defense respectfully requests that Mr. Grant be

granted pretrial release to the High Intensity Supervision Program (HISP) upon the following

conditions: (1) home detention at his parent’s home in North Carolina; (2) GPS monitoring; (3)

no access to electronic devices (including cellular phones and/or computers) except to



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communicate with Pretrial Services or his defense attorney ; (4) daily check in with Pretrial

Services; (5) drug treatment and testing; and (6) any other conditions of release that the Court or

Pretrial Services deems appropriate. The defendant’s father, Harold Grant, who is a former

federal probation officer, has agreed to act as the defendant’s custodian and as explained in the

attached sworn affidavit, will ensure that the defendant complies with any conditions of release

set by the Court and report any violations immediately to the appropriate authorities.

       The defense believes that the suggested conditions would be sufficient to guarantee the

defendant’s return to Court and the safety of the community, as required by the Bail Reform Act.

In the alternative, the defense also specifically requests that Mr. Grant be given “temporary

release” pursuant to the Bail Reform Act, so that he can prepare for the upcoming trial of his

case. See 18 U.S.C. Section 3142(i). The Government was advised of the defense intention to file

this motion for pretrial release and has indicated that it opposes the request.

                                   FACTUAL BACKGROUND

       The defendant is charged with a number of offenses resulting from his conduct on

January 6, 2021 at the United States Capitol, including assaulting a police officer with a

dangerous weapon, obstructing an official proceeding of Congress, disorderly conduct, and

remaining in a restricted location. For the purpose of this motion for pretrial release, the defense

assumes the validity of the charges. At the time of the defendant’s initial appearance, however,

the Government did not request detention; it was the defendant’s subsequent conduct that caused

his revocation. Accordingly, this Motion proposed very restrictive conditions of release

specifically tailored to ensure that if released, the defendant will not be a danger to the

community and will reasonably assure his return to Court. Undersigned counsel does not believe

that these conditions were suggested at the time that the defendant’s bond was revoked in




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January 2022; thus, this marks the first occasion that this Court has been asked to consider

appropriate release conditions.

                                         LEGAL ANALYSIS

        The criminal justice system in the United States operates in favor of the release of

persons charged with criminal offenses. “In our society, liberty is the norm, and detention prior

to trial or without trial is the carefully limited exception.” United States v. Gloster, 969 F.Supp.

92, 96–97 (D.D.C. 1997). The federal bail statute grants this Court the authority to release the

defendant upon the “least restrictive” combination of conditions necessary to assure his

appearance and the safety of the community. 18 U.S.C. Section 3141(c). In reaching this

decision, the Court should consider: (1) the nature and circumstances of the offense; (2) the

weight of the evidence; (3) the defendant’s personal characteristics; and (4) whether release

would pose a danger to the community or risk of flight. The Government must establish the risk

of flight component by a preponderance of the evidence and dangerousness by “clear and

convincing” evidence. United States v. Karni, 298 F.Supp.2d 129, 131 (D.D.C. 2004).

        With respect to the issue of dangerousness, the Government cannot rely upon generalities

to satisfy its burden of proof. As Judge Bates recently explained:

        “[t]o justify detention on the basis of dangerousness, the government must prove by ‘clear and
        convincing evidence’ that ‘no condition or combination of conditions will reasonably assure the
        safety of any other person and the community.’ ” 991 F.3d 1273, 1280 (D.C. Cir. 2021) (quoting
        18 U.S.C. § 3142(f)). That requires the government to establish that the defendant poses a
        continued “articulable threat to an individual or the community” that cannot be sufficiently
        mitigated by release conditions. Id. (quoting Salerno, 481 U.S. at 751, 107 S.Ct. 2095); see
        also id. (“[A] defendant's detention based on dangerousness accords with due process only insofar
        as the district court determines that the defendant's history, characteristics, and alleged criminal
        conduct make clear that he or she poses a concrete, prospective threat to public safety.”).
        Furthermore, “[d]etention cannot be based on a finding that defendant is unlikely to comply with
        conditions of release absent the requisite finding of dangerousness ... [as] otherwise the scope
        of detention would extend beyond the limits set by Congress.” Id. at 1283

United States v. Klein, 533 F. Supp. 3d 1, 8 (D.D.C. 2021).




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        In this case, the Government’s detention memorandum argued that the defendant’s

violation of release conditions triggered a presumption of pretrial detention pursuant to 18 U.S.C.

Section 3148(b)(2) and that no conditions would sufficiently guarantee the safety of the

community or reasonably assure the defendant’s return to Court. In the motion for revocation,

the Government argued that “[t]he Defendant had an opportunity to respect the Government and

Court’s trust in his release pending trial, but has apparently made the conscious decision to abuse

that privilege.” DE 77 at p. 9. The defense respectfully disagrees.

        The defense acknowledges that the nature and circumstances of the offense charged in

this case are serious and that the Government has video evidence that memorializes the

defendant’s participation.1 In this case, however, the defense is proposing conditions that would

– in every real sense – prevent him from violating his release conditions and ensure his return to

Court. As explained in the attached affidavit, the defendant’s father Harold Grant, has agreed to

allow his son to live in his family residence under home confinement with GPS location

monitoring, to act as custodian, to monitor the defendant’s activities, and to report any violation

(or attempted violation) of release conditions to the authorities. 2

        The Bail Statue expressly provides that a Court can grant pretrial release to a defendant

and order him to:

        remain in the custody of a designated person, who agrees to assume supervision and to
        report any violation of a release condition to the court, if the designated person is able
        reasonably to assure the judicial officer that the person will appear as required and will
        not pose a danger to the safety of any other person or the community.


1Defendant James Grant does not know his co-defendants and did not coordinate any of the charged conduct with
them prior to, or during, the events of January 6, 2021.

2The defendant was on pre-trial release for a North Carolina state charge of Driving While Impaired at the time of
his arrest in this case and is now also charged with another Driving While Impaired and Weapons offense in state
court. Undersigned has communicated with the defendant’s North Carolina attorney, who has advised that there are
no outstanding warrants for the defendant’s arrest as a result of either of these charges.



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18 U.S. Code Section 3142(c)(1)(B)(i).

       Moreover, the defendant’s father candidly acknowledges that he thinks his son was

laboring under a drug addiction at the time his release conditions were violated, but that he has

noted a significant change in the defendant in the last fifteen months. Harold Grant has sworn in

his affidavit submitted to the Court (and will personally affirm at a hearing on this motion for

release) that he will: (1) not let outsiders into the home; (2) not allow his son access to electronic

devices, except for communications with defense counsel or for other approved matters; (3) not

allow the defendant access to illegal drugs (or legal drugs of abuse); (4) personally take his son

to drug treatment and counseling if the Court orders such as release condition; and most

importantly (5) immediately report any violations of the release conditions.

       There is every reason for this Court to credit the defendant’s father, who is a retired

Probation Officer, and worked for more than twenty years in the United States District Court for

the Southern District of New York. Mr. Grant is very familiar with the type of release conditions

suggested in this case. In that regard, the defendant’s father is not merely a uniquely qualified

guardian, but he is also cognizant of the responsibility he will be undertaking. The defense hopes

that these lines from Harold Grant’s sworn affidavit will resonate with the Court:

       I want the Court to understand that my love for my son will not override my better
       judgment and my sworn promises. If I swear to your Honor that I will report James if he
       violates his conditions of release, then that is exactly what I will do, without reservation,
       without delay, and without any effort to hide from the Court, Pretrial Services, or the
       Government his conduct. I also understand that if I aid him in any way to violate his
       release conditions, or commit any other criminal offense, that I could also be potentially
       prosecuted for my conduct.

Defense Exhibit 1 at p. 2.

       Under the release conditions proposed by the defense – and monitored by a court

appointed guardian – the defendant will have no opportunity to commit the errors that led to his




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pretrial release being revoked. But if he does, the conditions proposed by the defense will assure

that he returns to jail pending trial. The defendant understands the proposed release conditions

and the consequences if they are violated. 3

Temporary Release To Prepare For Defense

        As an alternative – and independent - basis for pretrial release - the defense requests that

Mr. Blue be “temporarily” released from custody and reside with his family under the same

conditions previously suggested, girlfriend, until such time as counsel can represent to the Court

that preparations for trial are completed. The bail statute authorizes such release, holding that a:

        judicial officer may, by subsequent order, permit the temporary release of the person, in
        the custody of a United States marshal or another appropriate person, to the extent that
        the judicial officer determines such release to be necessary for preparation of the person's
        defense or for another compelling reason.

18 U.S. Code Section 3142(i).

        In this case, the Government has advised that the quantity of discovery in this case

requires the defense to provide a portable hard drive. The materials consist of thousands of hours

of video, hundreds of thousands of pages law enforcement reports, photographs, and related

matters. Indeed, the discovery with respect to the Capitol Hill cases is so enormous that the

Government hired a private contractor to create what is referred to as the “Relativity” data base.

The trial of this case is scheduled to commence on October 23, 2023, with earlier pretrial

deadlines. Undersigned only recently entered an appearance in this case and has significantly less

time than his colleagues to prepare this case.

        Moreover, the defendant is incarcerated at FCI Lewisburg, which is more than four hours

away from the District of Columbia Metropolitan area. While counsel is prepared to make



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 If the Court grants the motion for release, the defendant’s father would also transport him from Lewisburg,
Pennsylvania to North Carolina.


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appropriate in person visits, the distance to travel and the large amount of time needed to review

the totality of discovery with Mr. Grant makes personal visits an impractical, if not impossible,

means of effectively reviewing discovery. The Lewisburg prison has the capacity for legal video

visits, but the system does not permit counsel to “share” documents on the computer screen so

that both counsel and client can simultaneously view them. The defendant personally needs to

review (and understand) all of the discovery with his attorney in order to prepare a defense to the

charges in this case. That is not merely aspirational, but is obligatory.

                                          CONCLUSION

       For all of these reasons, the defense requests that this motion for pretrial release be

granted and the defendant released to HISP with the conditions requested herein and any others

that the Court deems necessary.


                                                       Respectfully submitted,

                                                       Robert Feitel

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was sent via ECF to the Assistant United
States Attorneys listed on the case docket and counsel for the co-defendants, this 10th day of
April, 2023.



                                             Robert Feitel

                                             ___________________________
                                             Robert Feitel




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